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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                 Case No. 09-21075-Cr-COOKE

UNITED STATES OF AMERICA,

       Plaintiff
vs.

JAMES MATHURIN,

      Defendant.
___________________________________/
       ORDER ADOPTING MAGISTRATE'S REPORT AND RECOMMENDATION
       THIS MATTER was referred to the Honorable William C. Turnoff, United States Magistrate
Judge, for a Report and Recommendation on Defendant James Mathurin’s Motion to Sever Counts
[ECF No. 52], Motion to Suppress Identification Testimony [ECF No. 58], and Motion to Suppress
Statements [ECF No. 61]. On July 19, 2010, Judge Turnoff issued a Report [ECF No. 110],
recommending that the Defendant’s Motion to Sever Counts be denied, that the Defendant’s Motion
to Suppress Identification Testimony be denied, and that the Defendant’s Motion to Suppress
Statements be denied. The Defendant timely filed his objections to Judge Turnoff 's Report.
       I have considered Judge Turnoff ’s Report and Recommendations, as well as the
Defendant’s objections, and have made a de novo review of the record. I find Judge Turnoff's
Report and Recommendation clear, cogent, and compelling. Accordingly, it is ORDERED and
ADJUDGED that Judge Turnoff ’s Report and Recommendation [ECF No. 110] is AFFIRMED
and ADOPTED. Defendant James Mathurin’s Motion to Sever Counts [ECF No. 52], Motion to
Suppress Identification Testimony [ECF No. 58], and Motion to Suppress Statements [ECF No. 61]
are DENIED consistent with Judge Turnoff’s Report.
       DONE and ORDERED in chambers, at Miami, Florida, this 17th day of August 2010.




Copies furnished to:
William C. Turnoff, U.S. Magistrate Judge
Counsel of record
